  Case:
Case     22-1446   Document:
     6:20-cv-00666-ADA       11 69
                       Document Page: 1 05/26/22
                                   Filed Filed: 05/26/2022
                                                   Page 1 of 2




              NOTE: This order is nonprecedential.


      United States Court of Appeals
          for the Federal Circuit
                    ______________________

          HEALTH DISCOVERY CORPORATION,
                  Plaintiff-Appellant

                               v.

                   INTEL CORPORATION,
                      Defendant-Appellee
                    ______________________

                          2022-1446
                    ______________________

       Appeal from the United States District Court for the
    Western District of Texas in No. 6:20-cv-00666-ADA, Judge
    Alan D. Albright.
                      ______________________

                        ON MOTION
                    ______________________

      Before LOURIE, TARANTO, and HUGHES, Circuit Judges.
    PER CURIAM.
                           ORDER
        Health Discovery Corporation (HDC) moves pursuant
    to Rule 42(b) of the Federal Rules of Appellate Procedure
    to dismiss this appeal and “requests an accompanying re-
    mand order.” Mot. at 2. HDC states that Intel Corporation
    consents to dismissal but does not consent to remand.
  Case:
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                       Document Page: 2 05/26/22
                                   Filed Filed: 05/26/2022
                                                   Page 2 of 2




    2     HEALTH DISCOVERY CORPORATION    v. INTEL CORPORATION



        HDC appealed from the district court’s decision dis-
    missing HDC’s complaint without prejudice after conclud-
    ing that HDC failed to plead allegations supporting the
    eligibility of the asserted claims under 35 U.S.C. § 101.
    HDC states that it has now “commenced a new civil action
    in the same court, adding pleading allegations that [HDC]
    believes overcomes the dismissal rationale” and “no longer
    wishes to pursue its appeal of the original dismissal with-
    out prejudice.” Mot. at 2. HDC, however, requests remand
    to “provide the district court the maximum ability to deter-
    mine whether the newly-filed civil action should proceed
    under the case number of the present original matter, or
    the case number of the new pleading.” Id. at 3.
        Upon consideration thereof,
        IT IS ORDERED THAT:
         (1) The motion is granted to the extent that the appeal
    is remanded for the limited purpose of allowing the district
    court to consider any request by HDC to allow its new ac-
    tion to proceed under the originating case number and to
    move forward based on the ruling on any such request.
        (2) Each side shall bear its own costs.
                                       FOR THE COURT

    May 26, 2022                       /s/ Peter R. Marksteiner
       Date                            Peter R. Marksteiner
                                       Clerk of Court
    ISSUED AS A MANDATE: May 26, 2022
